           Case 1:17-vv-01562-UNJ Document 22 Filed 11/30/18 Page 1 of 2




                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                        Filed: November 5, 2018

* * * * * * * * * *                          *   *    *
ROSALIE HELEN PEDERSEN,                               *                 UNPUBLISHED
                                                      *
                  Petitioner,                         *                 No. 17-1562V
                                                      *
v.                                                    *                 Special Master Gowen
                                                      *
SECRETARY OF HEALTH                                   *                 Petitioner’s Motion for Dismissal;
AND HUMAN SERVICES,                                   *                 Influenza (Flu); Guillain Barré
                                                      *                 Syndrome (GBS).
                  Respondent.                         *
*    * *     *    * * * *           *   *    *   *    *

Jeannette Poyerd-Loiacono, Staten Island, NY, for petitioner.
Amy Paula Kokot, United States Department of Justice, Washington, DC for respondent.

                                 DECISION DISMISSING PETITION1

       On October 19, 2017, Rosalie Helen Pedersen (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 Petitioner alleged that she suffered Guillain-
Barré Syndrome (“GBS”) as the result of an influenza (“flu”) vaccination she received on
November 10, 2014. Petition at Preamble, ECF No. 1.

        On October 22, 2018, petitioner filed a motion for a decision dismissing her petition.
Petitioner’s Motion to Dismiss, ECF No. 20. The Motion notes that “[a]n investigation of the facts
and science supporting [petitioner’s] case has demonstrated to petitioner that she will be unable to
prove that she is entitled to compensation in the Vaccine Program.” Id. at ¶ 1. The Motion also
provides that petitioner understands that a decision by the special master dismissing her petition
will result in a judgment against her and will end all of her rights in the Vaccine Program. Id. at ¶

1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this decision contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the decision
is posted on the court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed
redacted version of the decision.” Id. If neither party files a motion for redaction within 14 days, the decision
will be posted on the court’s website without any changes. Id.
2
 The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-10 et
seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter, individual section references will be to 42 U.S.C. § 300aa
of the Act.
          Case 1:17-vv-01562-UNJ Document 22 Filed 11/30/18 Page 2 of 2



3. Petitioner intends to protect her rights to file a civil action in the future, and, therefore, pursuant
to 42 U.S.C. § 300aa-21(a)(2), petitioner intends to elect to reject the Vaccine Program judgment
and to file a civil action. Id. at ¶ 6. Petitioner understand that respondent expressly reserves the
right, pursuant to Section 15(e), to question the good faith and reasonable basis of petitioner’s
claim and to oppose, if appropriate, her application for costs. Id. at ¶ 5.

       On November 5, 2018, respondent indicated in an email to my law clerk that he does not
oppose petitioner’s Motion. This matter is now ripe for review.

        To receive compensation under the Program, petitioner must prove either: (1) that she
suffered a “Table Injury”—i.e., an injury falling within the Vaccine Injury Table—corresponding
to a vaccination; or (2) that her alleged injury was actually caused by a vaccine. See §§ 300aa-
13(a)(1)(A) and 300aa-11(c)(1). An examination of the record did not support a finding that
petitioner suffered a “Table injury.” Further, the record does not contain persuasive evidence
indicating that petitioner’s GBS was caused-in-fact by the flu vaccination she received on
November 10, 2014.

        Under the Vaccine Act, the Program may not award compensation based solely on a
petitioner’s own claims. Rather, a petitioner must support her claim with either medical records
or the opinion of a competent physician. § 300aa-13(a)(1). In this case, the medical records do
not establish causation either as a “Table injury” or by causation-in-fact, and petitioner has not
filed an expert report in support of her claim. Petitioner has not met her burden of proof and her
claim therefore cannot succeed and must be dismissed. § 11(c)(1)(A).

       Thus, petitioner’s Motion is GRANTED and this case is DISMISSED for insufficient
proof. The Clerk of the Court shall enter judgment accordingly.

        IT IS SO ORDERED.
                                                                 s/Thomas L. Gowen
                                                                 Thomas L. Gowen
                                                                 Special Master




                                                    2
